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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 IN RE:                                           §
                                                  §
 RAAM GLOBAL ENERGY COMPANY,                      §       CASE NO. 15-35615
 et al.                                           §
                                                  §       (Chapter 11)
                                                  §
        DEBTORS.                                  §       JOINTLY ADMINISTERED


                  NOTICE OF FINAL/SOLICITATION VERSIONS OF
              DISCLOSURE STATEMENT, PLAN, BALLOTS, AND NOTICES

       PLEASE TAKE NOTICE that on December 22, 2015, the Court entered its Order (I)

Approving Disclosure Statement and the Form and Manner of Service Related Thereto; (II)

Setting Dates for the Objection Deadline and Hearing Relating to Confirmation of the Plan; and

(III) Authorizing Related Relief [Docket No. 271] (the “Order”). Among other things, the Order

approved the form and manner of the Debtors’ Second Amended Disclosure Statement for the

Debtors Second Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy

Code (the “Disclosure Statement”) regarding the Debtors’ Second Amended Joint Plan of

Liquidation Pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”), the ballots for voting

in favor of or against the Plan (the “Ballots”), and the applicable notices to be served (the

“Notices”).

       PLEASE TAKE FURTHER NOTICE that (a) in accordance with Paragraph 36 of the

Order, (a) the Debtors have made final, non-substantive edits (consisting solely of correcting

typographical and grammatical errors, making stylistic and formatting improvements, adding

updates of information as may be helpful, and adding revisions announced on the record at the

hearing on the Disclosure Statement) to the Disclosure Statement, Plan, Ballots, and Notices, (b)


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the final/solicitation versions of the Disclosure Statement, Plan, Ballots, and Notices are attached

hereto as Exhibits A through K, respectively (collectively, the “Final/Solicitation Versions”),

and (c) the Final/Solicitation Versions are deemed approved by virtue of this Notice without

further notice or hearing.

Dated: December 29, 2015

                                            Respectfully submitted,

                                            VINSON & ELKINS LLP



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